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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                         )
  In re:                                                 )   Chapter 11
                                                         )
  FREE SPEECH SYSTEMS LLC,                               )   Case No. 22-60043
                                                         )
                         Debtor.                         )
                                                         )

SUBCHAPTER V TRUSTEE’S APPLICATION TO RETAIN JACKSON WALKER LLP

        If you object to the relief requested, you must respond in writing. Unless otherwise
        directed by the Court, you must file your response electronically at
        https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
        was filed. If you do not have electronic filing privileges, you must file a written
        objection that is actually received by the clerk within twenty-one days from the
        date this motion was filed. Otherwise, the Court may treat the pleading as
        unopposed and grant the relief requested.


        Melissa Haselden, Subchapter V Trustee (“Trustee”), files this application (this

“Application”) for entry of an order (the “Order”), authorizing the retention and employment of

Jackson Walker LLP as her general bankruptcy counsel in the above-captioned bankruptcy case.

In further support of this Application, the Trustee submits the Declaration of Elizabeth Freeman,

a Partner with Jackson Walker (the “Freeman Declaration”), attached as Exhibit A, and represents

as follows:

                                       I. APPLICATION

        1.     The Trustee is the duly qualified and acting Subchapter V Trustee for the estate of

the Free Speech Systems, LLC (“Debtor”). The Debtor initiated the bankruptcy case on July 29,

2022 (the “Petition Date”) via the filing of a voluntary chapter 11 petition.

        2.     On September 20, 2022, the Court entered the Order Expanding the Subchapter V

Trustee’s Duties Pursuant to 11 U.S.C. § 1183(b)(2) of the Bankruptcy Code [Docket No. 183].



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        3.     In recognition of the unique complexities involved in this matter, the Trustee seeks

approval to retain Jackson Walker LLP as general bankruptcy counsel. The Trustee identified the

need for JW as her general bankruptcy counsel to assist with general matters related to the

investigation mandated by the Court as well as the fulfillment of her duties in this unusual case.

        4.     To accomplish these goals, the Trustee hereby files this Application pursuant to

§§ 327(a), 328, and 704 of the Bankruptcy Code. The Trustee requests authority to retain JW, as

counsel pursuant to the terms of the attached proposed engagement agreement (the “Engagement

Letter”), which is attached as Exhibit B. The Trustee requests that the employment be effective as

of September 11, 2022.

        5.     The Trustee selected JW to render professional services to her in her role as

Subchapter V Trustee, which include, but are not limited to, the following:

                   a) Conducting an investigation required by the Court;

                   b) Assisting the Trustee in analyzing claims owned by the estate against third

                       parties arising under chapter 5 of the Bankruptcy Code and other applicable

                       law;

                   c) Conducting appropriate examinations of witnesses, claimants, and other

                       parties-in-interest in connection with the Trustee’s duties in the case;

                   d) Representing the Trustee in the bankruptcy case, any adversary

                       proceedings, and other proceedings before the Bankruptcy Court, and in any

                       other judicial or administrative proceeding;

                   e) Performing any other legal services that may be appropriate in connection

                       with the foregoing.




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        6.     The Trustee selected JW because its attorneys have extensive experience in matters

relating to bankruptcy, commercial litigation, and asset collection. This case presents unique

questions of law and procedure. JW has the expertise and capacity to address the needs of the

estate. The Trustee believes that JW can provide the estate with the required legal expertise to

allow the Trustee to administer the estate and discharge her fiduciary duties under the

circumstances effectively and prudently. Because of the anticipated complexity investigating the

matters ordered by the Court and facilitating development of a confirmable plan in this

complicated case, the Trustee believes retention of JW is necessary due to its array of expertise in

various, relevant areas of law and with complex bankruptcy matters.

        7.     JW maintains its Houston offices at 1400 McKinney St., Suite 1900, Houston,

Texas 77010. JW’s main Houston telephone number is (713) 752-4200 and Houston facsimile

number is (713) 752-4221. JW attorneys are duly licensed and qualified attorneys before this

Court, and are qualified to act as general counsel for the Trustee.

                                      II. COMPENSATION1

        8.     The Trustee negotiated a compensation agreement designed to fit the particular

needs and possibilities of this case. JW is sensitive to the equities of this case and therefore agreed

to a reduction in compensation below its standard rates. JW’s standard hourly rates as of

September 6, 2022, with a 20% discount, will apply. JW agrees to not raise its rates with regards

to the matters for which it is being retained without seeking further order of this Court.

        9.     Elizabeth Freeman will be designated as attorney-in-charge and will be responsible

for JW’s representation of the Trustee as set forth in this Application. The following is a list of

JW attorneys and paraprofessionals who primarily will be providing services for the Trustee in




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connection with this case in conjunction with Ms. Freeman, as well as their current standard hourly

rates as discounted for this matter:

                           Attorneys:                    Elizabeth C. Freeman - $750
                                                         Sean Gallagher - $492

                           Legal Assistants:             Kendra E. Gradney - $164
                                                         Daniela M. Trevino - $156
                                                         Jolene Pupo - $148

        10.       JW agreed to a 20% reduction in its standard rates for the General Representation

in this matter. The rate of each professional working on this engagement will be clearly reflected

in the invoices and fee applications. JW will maintain detailed records of costs and expenses

incurred in connection with its legal services, and these will be set forth in detail as part of the

invoices and fee applications.

        11.       Ms. Freeman has been licensed to practice in the State if Texas since 1998 and is

admitted to practice before the Southern District of Texas. Ms. Freeman has over 20 years of

experience in complex bankruptcy and reorganization matters and representation of trustees. Ms.

Freeman is Board Certified in Business Bankruptcy Law by the Texas Board of Legal

Specialization.

        12.       Mr. Gallagher has been licensed to practice in the State of Texas since 2016 and is

admitted to practice before the Southern District of Texas. Mr. Gallagher has represented a variety

of parties in a wide array of bankruptcy and litigation matters, including avoidance actions.

                  STATEMENT REGARDING CONNECTION TO THE CASE

        13.       To the best of the Trustee’s knowledge, JW does not represent or hold any interest

adverse to the Debtor, its estate, creditors, equity security holders, or affiliates that would preclude

JW from serving as counsel for the purposes stated herein. JW has no connection with the Trustee,

Debtor, the creditors, or any other party-in-interest, their respective attorneys and advisors, the

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United States Trustee, or any person employed in the office of the United States Trustee other than

what is disclosed in the Freeman Declaration and are “disinterested persons” within the definition

of § 101(14) of the Bankruptcy Code on the matters for which it is to be engaged as general

bankruptcy counsel.

                                         CONCLUSION

        14.    Section 327(a) authorizes the Trustee’s retention of JW as general bankruptcy

counsel for the Trustee to be compensated in accordance with § 328 as set forth herein and in the

Engagement Agreement.       The Trustee has not given any compensation or promised any

compensation to JW, except as set forth in the Engagement Agreement. In addition, the Trustee

has not sought or obtained leave to employ any other professional to represent the Trustee on the

same matters as she proposes JW represent her.

        15.    In reaching her decision, the Trustee has evaluated the estate’s available resources,

the complexity of the case, the investigation and associated risks. Under the circumstances, the

Trustee believes that the terms of the proposed compensation arrangement are both reasonable and

prudent and provide her the necessary assistance for the case.

        WHEREFORE, the Trustee respectfully requests that an order be entered (a) approving

this Application and authorizing the Trustee to employ and retain Jackson Walker LLP to represent

the Trustee as her general bankruptcy counsel consistent with the terms set forth herein and in the

Engagement Agreement; and (b) granting the Trustee any other relief that is just and proper.



 Dated: October 11, 2022.                             /s/ Melissa Haselden
                                                      Melissa Haselden, Subchapter V Trustee
                                                      Free Speech Systems LLC




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                                     Certificate of Service

        I certify that on October 11, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Elizabeth C. Freeman
                                                      Elizabeth C. Freeman




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                                    Exhibit A

                                Engagement Letter




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                                    Exhibit B

                               Freeman Declaration




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          )
  In re:                                                  )   Chapter 11
                                                          )
  FREE SPEECH SYSTEMS LLC,                                )   Case No. 22-60043
                                                          )
                          Debtor.                         )
                                                          )

                 DECLARATION OF ELIZABETH FREEMAN
     IN SUPPORT OF THE APPLICATION TO RETAIN JACKSON WALKER LLP
              AS COUNSEL FOR THE SUBCHAPTER V TRUSTEE


        The undersigned proposed attorney for the above-captioned debtor and debtor-in-

possession submits this verified statement of disinterestedness pursuant to Bankruptcy Rule

2014(a).

        1.     My name is Elizabeth Freeman. I am over the age of 18 years, I am competent to

make this declaration, and I have personal knowledge of the facts stated herein. Each and every

statement contained herein is true and correct.

        2.     I am an attorney admitted to practice in the State of Texas and in this Court.

        3.     I am a partner in the law firm of Jackson Walker LLP (the “Firm”). The Firm

maintains offices for the practice of law in seven Texas cities including one at 1401 McKinney

Street, Suite 1900, Houston, Texas 77010. The Firm’s main telephone number is (713) 752-4200

and the Firm’s main facsimile number is (713) 752-4221.

        4.     In conjunction with the Trustee’s retention of JW, I directed a search of JW’s

conflict system for each of the Debtor, the Debtor’s creditors, affiliates, and insiders, principals of

the Debtor, officers and directors of the Debtors (the “Potential Parties in Interest”).




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        5.      The Firm may represent other affiliates whose identities and affiliation did not show

up on the conflicts system. It is possible that there are creditors whom the Debtor did not identify

in their records that are clients of the Firm. The following summarizes the findings gleaned from

my review of the information available on the Firm’s conflicts system divided into current clients

of the Firm that are also creditors of the Debtor, former clients, and affiliates of current clients of

the Firm that are also creditors of the Debtor, and my and the Firm’s connections with the Debtors

and their current and former officers, directors, and professionals.

A.      The Firm’s Prior Relationship to the Trustee

        6.     The Firm and the Trustee entered into the Engagement on October 11, 2022. The

Firm has no other representation of the Trustee. The Trustee and I have known one another for a

number of years and have worked on matters as opposing counsel and also as counsel representing

parties with common interests. On occasion, myself and others with JW refer potential clients to

the Trustee.

B.      Current Clients of the Firm that are Creditors of the Debtor

        7.     The Firm currently represents or has represented entities or affiliates of AT&T

including, but not limited to AT&T Corporation, AT&T Mobility, AT&T Knowledge Ventures,

L.P., and Southwestern Bell Telephone Company d/b/a AT&T Texas (collectively, the “AT&T

Entities”). It appears that AT&T is a creditor of the Debtor. In the event that any matters or issues

arise that are directly adverse to these current clients of the Firm, these matters or issues will be

handled by other counsel, as appropriate. Revenues from the Firm’s representation of AT&T is

less than 1% of the Firm’s annual revenues.

C.      Creditors of the Debtor that are Adverse to the Firm’s Clients

        8.      The Firm did not find that it represents, or has represented in the past, clients that

are adverse or potentially adverse to numerous creditors (or affiliates of creditors) of the Debtor.

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D.      The Firm’s Connections with the Debtor, Officers, and Professionals

        9.      Lucy Johnson-Davis, with the United States Trustee’s Office in Houston, was

previously employed by the Firm.

        10.     Except as set forth herein, neither I nor the Firm have had any connection with the

Debtor, insiders or affiliates of the Debtor, the Debtor’s creditors, any other party in interest, their

respective attorneys and accountants, the United States Trustee, or any other person employed in

the Office of the United States Trustee, and are disinterested persons within the meaning of

11 U.S.C. § 101(14), to the best of my knowledge.

E.      Statement Regarding United States Trustee Guidelines

        11.     The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtor’s chapter 11 case in compliance

with sections 330 and 331 of the Bankruptcy Code, and applicable provisions of the Bankruptcy

Rules, Bankruptcy Local Rules, and any other applicable procedures and orders of the Court.

The Firm also intends to make a reasonable effort to comply with the United States Trustee’s

requests for information and additional disclosures as set forth in the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the “U.S. Trustee Fee

Guidelines”), both in connection with this Application as well as any interim and final fee

applications that may be filed by the Firm in connection with this chapter 11 case.

        12.     The Firm will periodically review both the changes in identifiable parties in interest

of the Debtor and clients of the Firm as such information becomes available or relevant, and will

update this disclosure as appropriate.




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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.

      Executed October 11, 2022
                                              /s/ Elizabeth C. Freeman
                                              Elizabeth C. Freeman




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                Schedule 1
   Schedule of Searched Parties/Terms

Elevated Solution                         Stephen Lemmon
Free Speech                               Melissa Haselden
Greenair                                  Anthony Gucciardi
Christopher Sadowski                      Aurium
Copycat Legal                             Patrick Riley
Edgecast                                  Blue Ascension
Atomial                                   Neil Heslin
Ready Alliance                            Scarlett Lewis
Cloudfare                                 Leonard Pozner
Getty Images                              Veronique De La Rosa
Jacquelyn Blott                           Marcel Fontaine
RatsMed                                   David Wheeler
Rapid Med                                 Francine Wheeler
Joel Skousen                              Jacqueline Barden
David Icke                                Mark Barden
Icke Book                                 Nicole Hockley
Ickonic                                   Ian Hockley
Commerce Con                              Jennifer Hensel
WWCR                                      Donna Soto
Paul Watson                               Carlee Soto Parisi
JW JIB                                    Carlos M. Soto
Brennan Gilmore                           Jillian Soto-Marino
Civil Rights Clinic                       William Aldenberg
CustomTattoo                              William Sherlach
AT&T                                      Robert Parker
Justin Lair                               Joey Delassio
PQPR                                      Elevated Solutions
                                          Ray Battaglia




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                                   Schedule 2

       JW Client Name         Name Checked        Relation to            Status
                             Against Database      Debtors
 AT&T Corporation           AT&T                                Client
 AT&T Mobility              AT&T                                Client
 AT&T Knowledge Ventures,   AT&T                                Client
 L.P.
 Southwestern Bell          AT&T                                Client
 Telephone Company d/b/a
 AT&T Texas




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